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 4
                                    UNITED STATES DISTRICT COURT
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                                           DISTRICT OF NEVADA
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 7
     UNITED STATES OF AMERICA,         )
 8                                     )
               Plaintiff-Appellant,    )                     2:10-cr-003-JCM & 2:10-cr-039 JCM
 9                                     )
   vs.                                 )                     USCA Nos. 11-10253 & 11-10254
10                                     )
   CHRISTOPHER J. BIGGERS,             )
11                                     )
               Defendant-Appellee.     )                             ORDER
12 ____________________________________)
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             Presently before the court is Christopher J. Biggers’ 28 U.S.C. § 2255 petition. (Doc. #131).
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     The government has filed a non-opposition. (Doc. #133).
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             Petitioner seeks to have this court vacate its previous judgment and reenter it to enable
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     petitioner to timely file a notice of appeal. In light of the Ninth Circuit’s holding in United States v.
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     Sandoval-Lopez, 409 F.3d 1193 (9th Cir. 2005), and the government’s non-opposition, the court
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     hereby grants petitioner’s request.
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             Accordingly,
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             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this court’s judgment of
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     conviction as to Christopher J. Biggers, in case no. 2:10-cr-00003-JCM-PAL (doc. #107) be, and the
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     same hereby is, VACATED and immediately REENTERED as of this date.
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             DATED March 23, 2012.
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                                                             ___________________________________
26                                                           JAMES C. MAHAN
                                                             UNITED STATES DISTRICT JUDGE
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